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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JOHN DOE, M.D.,

     Plaintiff,
                                              Case No. 21-cv-13032
v.                                            Hon. Gershwin Drain
                                              Hon Mag. Judge Curtis Ivy, Jr
THE BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, MARIE
LOZON, M.D., and JUSTIN DIMICK,
M.D., Individually,

      Defendants.
__________________________________________________________________
 MIDWEST LEGAL PARTNERS, PLLC        HALL, RENDER, KILLIAN, HEATH &
 By: Saif R. Kasmikha (P74320)       LYMAN, PC
 42705 Grand River Avenue, Suite 201 David A. French (P31944)
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 Attorneys for Plaintiff             Attorneys for Defendants
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  Attorneys for Plaintiff
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________________________________________________________________


 DEFENDANTS’ RESPONSE IN OPPOSITION TO MOVANT CHARLES
     BLACKWELL MOTION TO ALTER JUDGMENT/OPINION
Case 2:21-cv-13032-GAD-CI ECF No. 64, PageID.1482 Filed 06/21/22 Page 2 of 9




      NOW COME Defendants, by and through their attorneys, HALL, RENDER,

KILLIAN, HEATH & LYMAN, PC, and for the reasons set forth in the Brief attached

hereto, respectfully request that this Honorable Court deny Movant Charles

Blackwell’s Motion to Alter Judgment/Opinion. Alternatively, Defendants request

that this Court grant the specific relief sought by Defendants in their original

Response (ECF No. 27) to the Motion for Leave to Intervene and Unseal Judicial

Records. In addition, Defendants request, as an ancillary and housekeeping matter,

that the Court grant their Motion to Permit Filings Under Seal (ECF No. 16).



                               Respectfully submitted,

                               HALL RENDER KILLIAN HEATH & LYMAN, PC

                               /s/ Jonathon A. Rabin
                               Jonathon A. Rabin (P57145)
                               Attorneys for Defendants
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Dated: June 21, 2022




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JOHN DOE, M.D.,

     Plaintiff,
                                              Case No. 21-cv-13032
v.                                            Hon. Gershwin Drain
                                              Hon Mag. Judge Curtis Ivy, Jr
THE BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, MARIE
LOZON, M.D., and JUSTIN DIMICK,
M.D., Individually,

      Defendants.
__________________________________________________________________
 MIDWEST LEGAL PARTNERS, PLLC        HALL, RENDER, KILLIAN, HEATH &
 By: Saif R. Kasmikha (P74320)       LYMAN, PC
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 Attorneys for Plaintiff             Attorneys for Defendants
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     DEFENDANTS’ BRIEF IN RESPONSE TO MOVANT CHARLES
      BLACKWELL MOTION TO ALTER JUDGMENT/OPINION
Case 2:21-cv-13032-GAD-CI ECF No. 64, PageID.1484 Filed 06/21/22 Page 4 of 9




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         CONCISE STATEMENT OF THE ISSUES PRESENTED

     1. Should the Court deny Movant Charles Blackwell’s Motion to Alter
        Judgment/Opinion or, alternatively, should the Court grant the specific
        relief sought by Defendants in their original Response (ECF No. 27) to the
        Motion for Leave to Intervene and Unseal Judicial Records?

        Defendants respond, “yes.”

        Movant would respond, “no.”

        Plaintiff’s response is unknown.

     2. Should the Court also, as an ancillary and housekeeping matter, rule on
        Defendants’ Motion to Permit Filings Under Seal (ECF No. 16)?

        Defendants respond, “yes.”

        Movant would respond, “no.”

        Plaintiff’s response is unknown.




                                       ii
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                                   ARGUMENT

      The Motion brought by Mr. Blackwell asks that this Court revisit its ruling

that his Motion to Intervene and Unseal Judicial Records (ECF No. 18) was moot.

He further asks that the Court “grant his motion to unseal exhibits.”

      In response to the request that the Court unseal documents protected by

Michigan’s peer review statute, Defendants incorporate by reference the following

prior filings on the subject:

      1. ECF No. 27: Defendants’ Response to Charles Blackwell’s Motion
         to Intervene and Unseal Judicial Records; and

      2. ECF No. 33: Defendants’ Motion to Permit Surreply to Movant
         Charles Blackwell’s Reply to Defendants’ Response to Movant’s
         Motion to Intervene and Unseal Judicial Records.

      As shown in those filings, the Movant has not set forth a basis to intervene in

this action at all. However, even if he is permitted to intervene, Defendants requested

that the Court consider the compelling value of federal-state comity in keeping

sealed those documents that are considered privileged under Michigan’s peer review

statute. At the same time, Defendants explained that certain of the documents that

the movant and proposed intervenor sought to unseal should have been unsealed,

namely those which were filed under seal only to mask Plaintiff’s identity (rather




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than those which are afforded peer review protections).1 Defendants repeat those

requests by way of this Response.

      Moreover, there is an important “housekeeping” matter that Defendants

would like the Court to address for the sake of a clear appellate record.2 The Court

has not ruled on Defendant’s Motion to Permit Filing Certain Documents Under

Seal. (ECF No. 16). That Motion sought an order permitting Defendants to: (a) file

redacted copies of their responses to Plaintiff’s Motion for Temporary Restraining

Order and to Show Cause Why A Preliminary Injunction Should Not Be Issued (ECF

No. 3); (b) file unredacted copies of both responses under seal; and (c) file certain

of the exhibits to those responses under seal. Those documents were filed under seal

as exhibits to Defendants’ Motion to Permit Filings Under Seal.3 However, the Court

never entered an order on that Motion. As a result, the Court technically did not

record those responses as being filed other than as attachments to ECF No. 16.

Accordingly, Defendants ask that the Court grant their Motion to Permit Filings

Under Seal (ECF No. 16).




1
  In ECF No. 27, PageID.728, Defendants listed specifically those documents that
should be sealed and those that should be unsealed.
2
  Although this Court’s Opinion dismissing Plaintiff’s claims and denying leave to
amend were proper, Plaintiff’s history suggests that he will initiate an appeal to the
Sixth Circuit.
3
  The sealed attachments are ECF Nos. 17-26.

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                                 CONCLUSION

      For the foregoing reasons, Defendants respectfully request that this Honorable

Court deny Movant Charles Blackwell’s Motion to Alter Judgment/Opinion or,

alternatively, grant the specific relief sought by Defendants in their original

Response (ECF No. 27) to the Motion for Leave to Intervene and Unseal Judicial

Records. In addition, Defendants request, as an ancillary and housekeeping matter,

that the Court grant their Motion to Permit Filings Under Seal (ECF No. 16).

                                Respectfully submitted,

                                HALL RENDER KILLIAN HEATH & LYMAN, PC

                                /s/ Jonathon A. Rabin
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                                         3
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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 21, 2022, I electronically filed the foregoing

document and this Certificate of Service with the Clerk of the Court using the ECF

system, which will send notification of such filing to attorneys of record at their

registered e-mail addresses and will mail the same to Mr. Blackwell to the following

address:

      22655 Fairmont Dr.
      Apt. 102
      Farmington Hills, MI 48335



                                /s/ Jonathon A. Rabin
                                Jonathon A. Rabin (P57145)
                                101 W. Big Beaver Road, Suite 745
                                Troy, MI 48084
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